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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

   UNITED STATES OF AMERICA; STATES OF
   CALIFORNIA, COLORADO, CONNECTICUT,                      Civil Action No. 19-12107 (KM) (JBC)
   DELAWARE, FLORIDA, GEORGIA, HAWAII,
   ILLINOIS, INDIANA, IOWA, LOUISIANA,
   MICHIGAN, MINNESOTA, MONTANA,                                  Hon. Kevin McNulty, U.S.D.J.
   NEVADA, NEW JERSEY, NEW MEXICO, NEW                           Hon. James B. Clark, III, U.S.M.J.
   YORK, NORTH CAROLINA, OKLAHOMA,
   RHODE ISLAND, TENNESSEE, TEXAS,
   VERMONT, AND WASHINGTON; THE                            SECOND AMENDED COMPLAINT
   COMMONWEALTHS OF MASSACHUSETTS                          FOR VIOLATIONS OF:
   AND VIRGINIA; AND THE DISTRICT OF
   COLUMBIA,                                               1. THE FEDERAL FALSE CLAIMS
                                                              ACT, 31 U.S.C. §§ 3729–3733; AND
   ex rel. ZACHARY SILBERSHER,
                                                           2. THE FALSE CLAIMS ACTS OF
                       Plaintiffs,                            THE PLAINTIFF STATES,
                                                              COMMONWEALTHS, AND THE
              v.                                              DISTRICT OF COLUMBIA

   JANSSEN BIOTECH, INC., JANSSEN
   ONCOLOGY, INC., JANSSEN RESEARCH &
   DEVELOPMENT, LLC, JOHNSON &                                    Document electronically filed
   JOHNSON, and BTG INTERNATIONAL
   LIMITED,

                       Defendants.
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       Plaintiff-Relator Zachary Silbersher (“Relator”), through his attorneys Lite DePalma

Greenberg, LLC; Herrera Purdy LLP; and Goldstein & Russell, P.C., on behalf of the United

States of America; the States of California, Colorado, Connecticut, Delaware, Florida, Georgia,

Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Michigan, Minnesota, Montana, Nevada,

New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee,

Texas, Vermont, and Washington; the Commonwealths of Massachusetts and Virginia; and the

District of Columbia (the foregoing states, commonwealths and the District of Columbia

collectively, “the Plaintiff States”), for his Complaint against defendants Janssen Biotech, Inc.

(“Janssen Biotech”), Janssen Oncology, Inc. (“Janssen Oncology”), Janssen Research &

Development, LLC (“Janssen R&D”) (Janssen Biotech, Janssen Oncology, and Janssen R&D

together, “Janssen”); Johnson & Johnson (“J&J”); and BTG International Limited (“BTG”)

(Janssen, J&J, and BTG collectively, “Defendants”), alleges, based upon personal knowledge,

relevant documents, and information and belief, as follows:

I.     INTRODUCTION

       A.      Overview of Defendants’ False Claims

               This case arises under the qui tam provisions of the federal False Claims Act

(“FCA” 1), 31 U.S.C. §§ 3729-3733, and its state counterparts, which create civil liability when a
        0F




defendant makes, or causes to be made, a false or fraudulent claim for payment to the government.

The FCA is the government’s primary civil tool to redress fraud on the public fisc, and it permits

knowledgeable whistleblowers, such as Relator, to sue on the government’s behalf. Like many

FCA cases, this one is about overpriced prescription drugs.

               The cost of prescription drugs is one of the most intractable problems facing the



1
 This Complaint includes many acronyms and terms of art. A glossary is appended to
make the Complaint more user-friendly.

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American healthcare system. While pharmaceutical manufacturers have advanced myriad

rationalizations for soaring costs, it is beyond debate that one of the fundamental reasons prices

stay high is that brand-name drug manufacturers use patents to prevent competitors from

entering the market, enabling the brand-name manufacturers to charge inflated monopoly prices

until the patents expire. Critically, the point of the patent system is not to grant inventors a

perpetual monopoly; it is to allow them to benefit from their discoveries for a set period, while

encouraging others to wait in the wings until competition is permitted. When drug patents expire,

generic drug companies with proper approvals from the Food and Drug Administration (“FDA”)

can market similar medicines, which they typically offer at much lower prices. The onset of

competition also brings the price of the brand-name drug down.

               The powerful incentives to maintain monopoly pricing have caused many brand-

name manufacturers to attempt to “evergreen” their patents by seeking new patents on brand-

name drugs as the old ones expire. These new patents frequently are of questionable validity.

Many seek to patent features or uses of the drug that are obvious in light of prior art or are

otherwise not inventive or useful. When the United States Patent and Trademark Office (“Patent

Office”) concludes that a patent application is not valid, it will deny the application.

               Sometimes, manufacturers attempting to extend their patent monopoly cross

legal and ethical lines by engaging in deceptive conduct—for example, failing to disclose

information during patent prosecution that would have caused the Patent Office to reject an

application. When manufacturers dishonestly maintain their monopoly, they fraudulently

impose massive costs on the U.S. healthcare system, which continues to pay the

manufacturer inflated monopoly prices.




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               This is such a case. Defendants manufacture, sell, and distribute Zytiga®

(abiraterone acetate), which doctors widely prescribe to patients with metastatic castration-

resistant prostate cancer (“mCRPC”). In the United States, a one-month prescription of Zytiga

typically costs over $9,000. Zytiga is covered by Medicare, Medicaid, and other government

programs. The typical patient takes Zytiga for twelve to eighteen months, meaning that the

government typically pays between $108,000 to over $160,000 in false claims for every patient

who is prescribed Zytiga.

               Defendants make over $2 billion each year selling Zytiga. Over $1 billion of

such sales are made in the United States. Approximately 80% of prostate cancer patients in the

United States are covered by Medicare. Plaintiff States’ Medicaid programs also cover Zytiga.

Additionally, the United States Government purchases Zytiga through numerous programs,

including, without limitation, the Veterans Health Administration, the Military Health System,

the Defense Health Agency / TRICARE, the Indian Health Service, the Federal Bureau of

Prisons’ Health Services Division, and the Coast Guard’s Office of Health Services. Therefore,

government funds pay a significant portion—indeed, the large majority—of Zytiga’s annual

sales in the United States. Government funds therefore disproportionately bear the burden of

Zytiga’s elevated, supracompetitive prices.

               According to the Centers for Medicare & Medicaid Services (“CMS”), a federal

agency within the United States Department of Health and Human Services (“DHHS”),

Medicare Part D and Medicaid payments for Zytiga alone totaled approximately

$877,587,632.97 in 2017 based on 93,665 claims. Medicaid payments totaled $42,903,803.24

in 2017 based on 5,067 claims. While 2017 is the latest year for which publicly-available data

has been published regarding Medicare Part D and Medicaid payments for Zytiga, upon



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information and belief, the amount of annual government payments or reimbursements for

Zytiga has increased since then.

               The chemical compound patent covering Zytiga—U.S. Patent No. 5,604,213

(“the ’213 Patent”)—expired on December 13, 2016. Defendants knew that at least fourteen

generic manufacturers were ready, willing, and able to introduce generic competition to Zytiga

when the ’213 Patent expired. Such generic competition would have reduced the price of

abiraterone acetate by at least 85%, and Defendants would have reasonably expected to lose

90% or more of Zytiga’s market share. To protect their supracompetitive profits for abiraterone

acetate—which patients dying of mCRPC desperately need—Defendants fraudulently obtained

a patent to block generic entry after the expiration of the ’213 Patent. The fraudulently

obtained patent is U.S. Patent 8,822,438 (the ’438 Patent).

               Even though Defendants knew the fraudulent ’438 Patent eventually would

have been invalidated, the delay caused by Defendants’ fraudulent course of conduct

manipulating the regulatory structure for generic approval (described below) allowed

Defendants wrongfully to shield over $1 billion in Zytiga revenue, most of it paid by federal

and state government funds.

               The Federal FCA and the State FCAs provide a mechanism for the federal and

state governments to protect their health care funds from such unlawful predation. Relator

brings this qui tam action to do so.

               As set forth below, Defendants have knowingly presented, or caused to be

presented, false or fraudulent claims for payment or approval by the United States Government

and each of the Plaintiff States in connection with the sale of Zytiga (each, a “False Claim”).

These False Claims include, without limitation: (a) claims for Medicare and Medicaid



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reimbursement for Zytiga prescriptions; and (b) claims for payment relating to government

purchases of Zytiga under certain government healthcare programs, such as the Veterans

Health Administration.

               Defendants willfully made false and materially misleading statements to the

United States Patent and Trademark Office (“Patent Office”) fraudulently to obtain the ’438

Patent, which was scheduled to expire in 2027 until it was invalidated. The ’438 Patent was

used by Defendants unlawfully to exclude generic alternatives to Zytiga from entering the

market. As a result, Defendants have been able to charge artificially inflated prices for Zytiga

and to charge for Zytiga when prescriptions would otherwise have been filled with a generic

alternative.

               These tremendous public expenditures are attributable to Zytiga’s

fraudulently inflated price, which tainted every claim for payment or reimbursement for

Zytiga.

               By systematically overcharging the United States and the Plaintiff States for

Zytiga, Defendants violated the federal FCA, and false claims acts of the respective

Plaintiff States. Each claim for reimbursement for Zytiga constituted a separate actionable

violation of these laws.

               Defendants’ actions violate the Federal FCA and the following State FCAs:

The California False Claims Act, Cal. Gov’t Code §§ 12650–12656; Colorado Medicaid

False Claims Act, Colo. Rev. Stat §§ 25.5-4-303.5 to -310; Connecticut False Claims Act,

Conn. Gen. Stat. §§ 4-274 to -289; Delaware False Claims and Reporting Act, Del. Code

Ann. tit. 6, §§ 1201-1211; District of Columbia False Claims Act, D.C. Code §§ 2-381.01

to .09; Florida False Claims Act, Fla. Stat. §§ 68.081–.09; Georgia False Medicaid Claims



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Act, Ga. Code Ann. §§ 49-4-168 to 168.6; Hawaii False Claims Act, Haw. Rev. Stat.

§§ 661-21 to -31; Illinois False Claims Act, 740 Ill. Comp. Stat. 175/1–175/8; Indiana

False Claims and Whistleblower Protection Act, Ind. Code §§ 5-11-5.5-1 to -18; Iowa

False Claims Act, Iowa Code §§ 685.1–.7; Louisiana Medical Assistance Programs

Integrity Law, La. Rev. Stat. §§ 46:437–:440; Maryland False Health Claims Act, Md.

Code Ann., Health-Gen. §§ 2-601 to -611; Massachusetts False Claims Act, Mass. Gen.

Laws ch. 12, §§ 5A–5O; Michigan Medicaid False Claims Act, Mich. Comp. Laws.

§§ 400.601–.615; Minnesota False Claims Act, Minn. Stat, §§ 15C.01–.16; Montana False

Claims Act, Mont. Code Ann. §§ 17-8-401 to -413; Nevada statute concerning Submission

of False Claims to State or Local Government, Nev. Rev. Stat. §§ 357.010–.250; New

Jersey False Claims Act, N.J. Stat. Ann. §§ 2A:32C-1 to -18; New Mexico Medicaid False

Claims Act, N.M. Stat. Ann. §§ 27-14-1 to -15, and New Mexico Fraud Against Taxpayers

Act, N.M. Stat. Ann. §§ 44-9-1 to -14; New York False Claims Act, N.Y. State Fin. Law

§§ 187–194; North Carolina False Claims Act, N.C. Gen. Stat. §§ 1-605 to -618; Oklahoma

Medicaid False Claims Act, Okla. Stat. tit. 63, §§ 5053–5053.7; Rhode Island False Claims

Act, R.I. Gen. Laws §§ 9-1.1-1 to -9; Tennessee Medicaid False Claims Act, Tenn. Code

Ann. §§ 71-5-181 to -185; Texas Medicaid Fraud Prevention Law, Tex. Hum. Res. Code

Ann. §§ 36.001–.132; Vermont False Claims Act, Vt. Stat. Ann. tit. 32, §§ 630–642;

Virginia Fraud Against Taxpayers Act, Va. Code §§ 8.01-216.1 to .19; and Washington

State Medicaid Fraud False Claims Act, Wash. Rev. Code §§ 74.66.005–.130.

II.    PARTIES

              The Relator, Zachary Silbersher, is a citizen of the State of New York. Relator is a

patent attorney whose practice focuses on investigating invalid pharmaceutical patents that brand



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manufacturers use to protect their drugs from price competition. He also operates a consulting

firm, Markman Advisors, which provides patent analysis for its clients. Through his independent

investigation, Relator has uncovered information supporting the claims set forth herein. Relator’s

independent research and investigation has generated information that is independent of, and

materially adds to, any publicly-disclosed allegations and transactions.

               Relator is an “original source” of information within the meaning of

31 U.S.C. § 3730(e)(4)(B) and all applicable State FCAs. On November 2, 2018 and June

5, 2019, Relator voluntarily provided the information on which the allegations or

transactions alleged herein are based to the Federal Government and the Plaintiff States

before filing this action. Moreover, Relator provided independently-obtained information

that materially adds to any previous public disclosure of any aspect of the fraud alleged

herein. Among other information, Relator has provided facts demonstrating that

Defendants failed to disclose to the Patent Office that one of its competitors had not

received FDA approval during the time period for which Defendants were making critical

market share comparisons between Zytiga and its biggest competitor, Xtandi®. Relator has

also provided facts demonstrating that Defendants withheld material information from the

Patent Office that the claimed commercial success of Zytiga lacked any nexus to the

claimed invention in the ’438 Patent.

               Relator seeks to recover all available damages, civil penalties, and other relief

for federal and state-law violations alleged herein. In particular, Relator sues to recover on

behalf of the United States Government and its various agencies administering government-

funded health care programs, including, without limitation, Medicare; Medicaid; CHIP; the

Indian Health Service; the Federal Bureau of Prisons’ Health Services Division; the Veterans

Health Administration; the Military Health System; the Defense Health Agency / TRICARE;


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 and the Coast Guard’s Office of Health Services. Relator also sues to recover on behalf of the

 Plaintiff States and their respective agencies administering state programs for prescription drug

 coverage, including, without limitation, Medicaid contributions.

                Defendant Janssen Biotech, Inc., is a corporation organized and existing under

 the laws of Pennsylvania, with its principal place of business at 800/850 Ridgeview Drive,

 Horsham, PA 19044. Janssen Biotech is a wholly-owned subsidiary of Johnson & Johnson

 (“J&J”).

                Defendant Janssen Oncology, Inc., is corporation organized and existing under

 the laws of Delaware, with its principal place of business at 10990 Wilshire Boulevard, Los

 Angeles, CA 90024. Janssen Oncology is a wholly-owned subsidiary of J&J.

                Defendant Janssen Research & Development, LLC, is a limited liability

 company organized and existing under the laws of the State of New Jersey, with its principal

 place of business at 920 Route 202 South, Raritan, New Jersey 08869. Janssen R&D is a

 wholly-owned subsidiary of J&J.

                Defendant Johnson & Johnson (“J&J”) is corporation organized and existing

 under the laws of the State of New Jersey, with its principal place of business of One Johnson

 & Johnson Plaza, New Brunswick, New Jersey 08933. J&J is the parent corporation of the

 Janssen entities and filed false, misleading, and fraudulent documents with the USPTO in

 connection with the ’438 Patent in concert with the other Defendants in furtherance of

 Defendants’ collective efforts improperly to exclude generic competitors through the scheme

 alleged herein. Through its wholly-owned subsidiary Cougar Biotechnology, J&J also holds

 the rights to the ’213 Patent, which originally protected Zytiga’s chemical compound and

 expired in December 2016.



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                Defendant BTG is a company organized and existing under the laws of the United

 Kingdom, with its principal place of business at 5 Fleet Place, London, EC4M 7RD United

 Kingdom.

                Defendants sell Zytiga in the United States pursuant to New Drug Application

 (“NDA”) No. 202379, which has been approved by the FDA.

                Janssen Oncology is an owner of the ’438 Patent, entitled “Methods and

 Composition for Treatment of Cancer,” as issued by the United States Patent and Trademark

 Office on September 2, 2014. As set forth below, BTG asserts co-ownership of the ’438 patent

 along with Janssen.

                Janssen Biotech is the holder of NDA No. 202379. Janssen R&D works in

 collaboration with Janssen Biotech with respect to NDA No. 202379.

 III.   JURISDICTION AND VENUE

                This Court has jurisdiction over the subject matter of this action pursuant to

 28 U.S.C. § 1331, 28 U.S.C. § 1367, and 31 U.S.C. §§ 3730(b)(1) and 3732, the last of which

 specifically confers jurisdiction on this Court for actions brought pursuant to 31 U.S.C.

 §§ 3729 and 3730. In addition, 31 U.S.C. § 3732(b) specifically confers jurisdiction on this

 Court over the state law claims.

                Under 31 U.S.C. § 3730(e), and under the comparable provisions of the Plaintiff

 State statutes, there has been no statutorily relevant public disclosure of the “allegations or

 transactions” in this Complaint. Moreover, whether or not such a disclosure had occurred,

 Relator would qualify as an “original source” of the information in this Complaint, even had

 such a public disclosure occurred. Relator has direct and independent knowledge of the

 information on which the allegations herein are based; such knowledge materially adds to any

 publicly disclosed allegations or transactions; and Relator voluntarily provided the information


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 to the Government before filing this action and before any public disclosure of the allegations

 and transactions in this Complaint material to the false claims alleged herein.

                This Court has personal jurisdiction over each of the Defendants pursuant to

 31 U.S.C. § 3732(a), which authorizes nationwide service of process. Moreover, each of the

 Defendants entities maintain minimum contacts with the United States, and they all can be

 found in and transact business in this District.

                Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 1395(a)

 and 31 U.S.C. § 3732(a) because Defendants can be found in and transact business in this

 District. At all times relevant to this Complaint, each of the Defendants regularly conducted

 substantial business within this District and made significant sales within this District.

 Moreover, numerous acts violating 31 U.S.C. §§ 3729-3733 occurred in this District, and a

 substantial part of the events giving rise to the claims alleged herein occurred here. Finally,

 J&J maintains its headquarters in this District.

                Many of the acts underlying the false claims allegations herein occurred in this

 District, and thousands of False Claims were submitted in this District relating to Zytiga sales

 made within this District.

 IV.    FEDERAL AND STATE-FUNDED HEALTH CARE PROGRAMS

                Government-funded health care programs cover medical services and

 prescriptions for one-third of the United States population.

        A.      Medicare

                Medicare is a federally-funded health insurance program primarily benefitting the

 elderly. Medicare was created in 1965 when Title XVIII of the Social Security Act was adopted.

 The Medicare program is administered by CMS.




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                The Medicare program has four parts. Medicare Part A, the Basic Plan of

 Hospital Insurance, covers the cost of inpatient hospital services and post-hospital nursing

 facility care. Medicare Part B, the Voluntary Supplemental Insurance Plan, covers the cost

 of services performed by physicians and certain other health care providers, both inpatient

 and outpatient, if the services are medically necessary and directly and personally provided

 by the provider. Medicare Part C covers certain managed care plans. Medicare Part D

 provides subsidized prescription drug coverage for Medicare beneficiaries.

                Medicare provides benefits for patients being treated with Zytiga.

                Medicare Part D prices are particularly susceptible to unlawful inflation

 compared with other government programs because there is no set ceiling price. Instead,

 Medicare Part D sponsors will typically negotiate prices that are directly affected by market

 prices that are inflated through the exclusion of competitors. The price for drugs paid by

 Medicare Part D are typically much higher than the price paid by the government for other

 programs and generally range from 130% to over 150% of the listed price on the Federal

 Supply Schedule. In negotiating and setting prices, Medicare sponsors will usually factor in

 the drug’s price listed on the Federal Supply Schedule.

                Many Medicare Part D prescription drug plans also require Step Therapy as a

 utilization management restriction that requires covered patients to first try less expensive

 alternatives (which would include generic drugs or cheaper biosimilars) before the plan will

 cover more expensive drugs. By unlawfully excluding competitors from introducing less-

 expensive generics through the assertion of the fraudulently-obtained patents in this case,

 Defendants have caused the filling of prescriptions for Zytiga that would have been filled with

 less-expensive generics, had they been available.



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 B.     Medicaid

                Medicaid is jointly administered by the United States and each state.

                Individual state Medicaid programs are administered by each state, subject

 to oversight by the United States in accordance with statutes and with regulations

 promulgated by the Secretary of the DHHS. Pursuant to these statutes and regulations, the

 United States provides financial assistance to each of the state Medicaid programs by

 providing each state with financing equal to at least 50% of the costs incurred by the state

 Medicaid programs. In some instances, the United States pays for up to 75% of program

 costs incurred, including the costs incurred for reimbursing providers for dispensing

 prescription drug products (such as Zytiga) to Medicaid beneficiaries.

                Each state Medicaid program obtains federal financial assistance by submitting

 quarterly claims to the United States for costs incurred administering the state Medicaid

 programs.

 C.     Other Government-Funded Health Programs

                The other major government-funded health programs—including CHIP; the

 Indian Health Service; the Federal Bureau of Prisons’ Health Services Division; the Veterans

 Health Administration; the Military Health System; the Defense Health Agency / TRICARE;

 and the Coast Guard’s Office of Health Services—purchase significant amounts of Zytiga for

 their covered patients.

 V.     THE REGULATORY STRUCTURE THAT DEFENDANTS MANIPULATED
        TO BLOCK GENERIC COMPETITORS TO ZYTIGA

        A.      The Regulatory Structure for Approval of Generic Drugs

                Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), a manufacturer

 must obtain FDA approval to sell a new drug by filing a New Drug Application (“NDA”). 21


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 U.S.C. §§ 301-392. An NDA must include submission of specific data concerning the safety

 and effectiveness of the drug. An NDA must also identify any patent that allegedly claims

 either the approved drug or approved methods of use of the drug that could reasonably be

 asserted against a generic manufacturer that makes, uses, or sells a generic version of the brand

 drug prior to the expiration of the listed patent(s). 21 U.S.C. § 355(a), (b). When the FDA

 approves an NDA, it publishes the patents identified by the brand manufacturer in a database

 called “Approved Drug Products with Therapeutic Equivalence Evaluations,” commonly

 known as the “Orange Book.” Patents issued after NDA approval may be listed in the Orange

 Book within thirty days of issuance. 21 U.S.C. § 355(b)(1), (c)(2).

                The FDA relies completely on the brand manufacturer’s truthfulness about

 patent validity and applicability, because the agency does not have the resources or authority to

 verify the manufacturer’s patents were not procured through fraud. In listing patents in the

 Orange Book, the FDA merely performs a ministerial act. Therefore, pharmaceutical

 companies that list patents in the Orange Book that they claim protect a particular drug have a

 duty to list only those patents they believe in good faith restrict generic entry.

        B.      The Hatch-Waxman Amendments

                The Hatch-Waxman Amendments to the FDCA, enacted in 1984, simplified the

 regulatory hurdles for prospective generic manufacturers by eliminating the need for them to

 file lengthy and costly NDAs. See Drug Price Competition and Patent Term Restoration Act,

 Pub. L. No. 98-417, 98 Stat. (1984). A generic manufacturer seeking approval to sell a generic

 version of a brand drug may instead file an Abbreviated New Drug Application (“ANDA”). An

 ANDA relies on the scientific findings of safety and effectiveness included in the brand

 manufacturer’s original NDA. An ANDA applicant must demonstrate that the proposed



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 generic drug is pharmaceutically equivalent and bioequivalent (together, “therapeutically

 equivalent”) to the brand drug. See generally 21 U.S.C. § 355(j) et seq. To do so, an applicant

 must show that the generic drug contains the same active ingredient(s), dosage form, route of

 administration, and strength as the brand drug. Additionally, an applicant must prove that the

 generic drug is absorbed at the same rate and to the same extent as the brand drug.

                The FDCA and Hatch-Waxman Amendments operate on the principle that

 bioequivalent drug products containing identical amounts of the same active ingredients,

 having the same route of administration, dosage and form, and meeting applicable standards of

 strength, quality, purity and identity are therapeutically equivalent and may be substituted for

 one another. Bioequivalence demonstrates that the active ingredient of the proposed generic

 drug is absorbed at the site of drug action to the same extent and for the same amount of time

 as the branded counterpart. 21 U.S.C. § 355(j)(8)(B). Thus, a generic drug is identical to a

 brand name drug in dosage, form, safety, strength, route of administration, and intended use.

                Generic drugs that are therapeutically equivalent to their brand counterparts are

 given an “AB” rating by the FDA, allowing their substitution for the brand when a patient

 presents a prescription for the brand product.

                Congress enacted the Hatch-Waxman Amendments to expedite the entry of

 generic competitors, thereby reducing healthcare expenses nationwide. As a result, generic

 drugs became an increasingly large part of prescription drug revenues and a growing threat to

 brand name drug profits. In 1984, prescription drug revenue for brand and generic drugs

 totaled $21.6 billion, with generic drugs accounting for 18.6% of total prescriptions. By 2013,

 total prescription drug revenue had climbed to more than $329.2 billion, with generic drugs




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 accounting for 84% of prescriptions. See IMS Institute for Healthcare Informatics, Medicine

 and Shifting Costs of Healthcare 30, 51 (2014).

        C.      Paragraph I, II, III, and IV Certifications

                To obtain FDA approval of an ANDA, a generic manufacturer must certify that

 the generic drug addressed in its ANDA will not infringe any patents listed in the Orange

 Book. Under the Hatch-Waxman Amendments, a generic manufacturer’s ANDA must contain

 one of four certifications for each Orange Book-listed patent:

             a. That no patent for the brand name drug has been filed with the FDA (a

                “Paragraph I certification”);

             b. that the patent for the brand drug has expired (a “Paragraph II certification”);

             c. that the patent for the brand name drug will expire on a particular date and the

                generic company does not seek to market its generic product before that date (a

                “Paragraph III certification”); or

             d. that the patent for the brand drug is invalid or will not be infringed by the

                generic manufacturer’s proposed product (a “Paragraph IV certification”).

                Because ANDAs with Paragraph I, II, or III certifications face no potential

 patent challenge, FDA approval of these ANDAs is relatively quick and expeditious.

                However, when a generic manufacturer is forced to file a Paragraph IV

 certification because the Orange Book lists a patent that has not or will not expire by the time

 of the planned generic entry, the brand manufacturer is able trigger extensive regulatory delays

 that will block FDA approval of generic entry—potentially for many years. Moreover, the

 filing of Paragraph IV certifications and the resulting patent infringement actions delay ANDA




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 approval by the FDA and divert resources from prompt ANDA approval and the introduction

 of generic alternatives into market.

                  When a generic manufacturer files a Paragraph IV certification, it must

 promptly provide notice to the brand manufacturer. Filing an ANDA with a Paragraph IV

 certification gives rise to a cause of action for patent infringement regardless of the merits of

 the action. If the brand manufacturer initiates a patent infringement action against the generic

 filer within forty-five days of receiving notification of the Paragraph IV certification

 (“Paragraph IV Litigation”), the FDA will not grant final approval to the ANDA until the

 earlier of (a) the passage of thirty months from the notification date, or (b) the issuance of a

 decision by a court that the patent is invalid or not infringed by the generic manufacturer’s

 ANDA. Until one of those conditions occurs, the FDA may grant “tentative approval” but

 cannot authorize the generic manufacturer to go to market with its product. Tentative approval

 means the ANDA would be ready for final approval but for the 30-month stay. As a practical

 matter, the initiation of a patent infringement action provides the brand manufacturer with the

 equivalent of an automatic 30-month injunction that prevents the generic manufacturer from

 releasing a competing generic product, regardless of the merits of the infringement action.

         D.       United States Patent Law

                  United States patents grant the patent owner or assignee the exclusive right to

 exclude others from practicing the patent product for a fixed period of time from the patent’s

 priority date.

                  Under applicable patent law, an application for a patent will be rejected by the

 Patent Office if the invention was “patented, described in a printed publication, or in public

 use, on sale, or otherwise available to the public before the effective filing date of the claimed



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 invention.” 35 U.S.C. § 102. Even if the invention was not disclosed in detail as set forth in

 § 102, a claim is unpatentable if the differences between the subject matter sought to be patented

 and the prior art are such that the subject matter as a whole would have been obvious at the time

 the invention was made to a person having ordinary skill in the art. 35 U.S.C. § 103. If the Patent

 Office uncovers prior art that satisfies sections 102 or 103, it establishes a prima facie case of

 obviousness. To overcome a prima facie case of obviousness, the patent applicant has a

 number of options, including: (i) narrowing the invention to distinguish over the prior art; (ii)

 arguing the prior art does not render the claim obvious; or (iii) submitting objective evidence of

 secondary considerations, including commercial success, long-felt but unsolved need, and

 failure of others. A person or entity can challenge the validity of an issued patent by filing a

 petition for inter partes review with the PTAB. 35 U.S.C. § 311.

                A patent applicant has an affirmative duty of candor and good faith when

 prosecuting a patent application, which includes an affirmative duty to disclose all material

 prior art known to the applicant at the time of the application. 37 C.F.R. § 1.56. Failure to

 disclose material prior art can render a patent unenforceable. See e.g., C.R. Bard, Inc. v. M3

 Sys., 157 F.3d 1340, 1367 (Fed. Cir. 1998) (“Fraud in obtaining a United States patent is a

 classical ground of invalidity or unenforceability of the patent.”). Moreover, concealing a

 material fact in a matter within the jurisdiction of a federal executive agency is a criminal

 offense punishable by fine and imprisonment. 18 U.S.C. § 1001.

        E.      The Economic Benefits of Blocking Generic Entry, Even When Frivolous

                Therapeutically equivalent (or AB-rated) generic drugs contain the same active

 ingredient—and are determined by the FDA to be just as safe and effective—as their branded

 counterparts. The only material difference between generic drugs and branded drugs is their



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 price: when multiple generic drug manufacturer competitors enter the market for a given

 branded drug, generic drugs cost, on average, 80%-85% lower than the branded drug prior to

 generic entry. Moreover, the Federal Trade Commission (“FTC”) estimates that about one year

 after market entry, a generic drug takes over 90% of the branded drug’s unit sales.

                When multiple generics enter the market, competition accelerates, and prices

 drop to their lowest levels. Competition from several generic sellers drives drug prices down

 toward marginal manufacturing costs. Defendants prevented this from happening with Zytiga

 by applying for and obtaining the ’438 Patent

                In the majority of states, pharmacists may (and in some cases are required) by

 statute or regulation to substitute a therapeutically equivalent generic drug with a brand-name

 drug—even when a prescription lists a brand-name drug—unless the prescription specifically

 prohibits such substitution. The Office of Inspector General of the DHHS has determined that

 generic drugs are dispensed 89% of the time when generic substitutes were available.

                Zytiga was originally approved by the FDA in the chemo-refractory mCPRC

 market on April 28, 2011, and its FDA-approved exclusivity expired no later than April 28,

 2016. Because at least fourteen generic manufacturers were willing and able to enter the

 market when the ’213 Patent expired in December 2016, Defendants had a strong incentive to

 manipulate the regulatory structures to prevent generic entry. Even if Defendants listed a

 fraudulently-obtained patent in the Orange Book—one that Defendants knew would be

 invalidated in court or through inter partes review (“IPR”)—the 30-month stay and the delay

 caused by forcing generic manufacturers to file Paragraph IV certifications and litigate

 infringement actions allowed Defendants to reap over $2.5 billion in Zytiga sales at

 supracompetitive prices. A significant portion of these sales have been paid for with



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 government funds through Medicare, Medicaid, and other programs.

 VI.     ALLEGATIONS CONCERNING DEFENDANTS’ FALSE CLAIMS

         A.       Defendants’ Patent Exclusivity for Zytiga Should Have Ended in December
                  2016

                  Zytiga (abiraterone acetate) is indicated in combination with prednisone for the

 treatment of patients with mCRPC, a form of prostate cancer. Abiraterone acetate works by

 suppressing the synthesis of testosterone. Co-administration with prednisone counters

 abiraterone acetate’s side-effects, such as increased risk of hypertension.

                  Defendants jointly collaborate in the development, manufacture, sale and

 distribution of Zytiga.

                  By April 2016, Zytiga’s FDA-approved exclusivity expired.

                  On December 16, 2016, the ’213 Patent, which protected the chemical

 compound for Zytiga (abiraterone acetate), expired.

         B.       Defendants’ Fraudulent Prosecution of the ’438 Patent

                  The Patent Office allowed the ’438 Patent because of false and misleading

 statements Defendants made during the patent’s examination. Under applicable patent law, an

 application for a patent will be rejected by the Patent Office if the Patent Office uncovers prior

 art that shows the claimed invention to be obvious. By doing so, the Office establishes a prima

 facie case of obviousness. To overcome a prima facie case of obviousness, the patent applicant

 has a number of options, including: (i) narrowing the invention to distinguish over the prior art;

 (ii) arguing the prior art does not render the claim obvious; or (iii) submitting objective

 evidence of secondary considerations.

                  The Patent Office originally rejected the ’438 Patent application as obvious over

 the prior art.


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                To overcome that rejection, Defendants represented to the Patent Office that

 certain “secondary considerations” purportedly demonstrated that Zytiga was a commercial

 success. But Defendants’ submissions to the Patent Office were false, misleading, and

 misrepresentative of Zytiga’s actual commercial success.

                Secondary considerations of non-obviousness can come in many different

 forms. The most common forms are, inter alia: (a) the invention has achieved commercial

 success resulting from the supposedly patentable subject matter; (b) the invention satisfies a

 long-felt but unsolved need; (c) or the invention yields unexpected and surprising results. In

 each case, the patent applicant argues that even if a prima facie case of obviousness exists, the

 patent nevertheless should be allowed based on a secondary consideration of non-obviousness.

 Evidence of commercial success is significant only if there is a nexus between the claimed

 invention and the commercial success. If the feature creating the commercial success is not due

 to the patented invention, then the success is not pertinent. This is well-known by practitioners

 in the field, particularly Defendants, who have large and well-funded internal legal

 departments with access to significant and highly-qualified outside counsel.

                In this case, Defendants Janssen Biotech, Inc., Janssen Oncology, Inc., and Janssen

 Research & Development, LLC filed certifications that they all were real parties-in-interest for the

 ’438 Patent, and that all of them were wholly-owned subsidiaries of defendant J&J, which was

 also a party-in-interest to the ’438 Patent application.

                The ’438 Patent resulted from a lengthy prosecution before the Patent Office. It

 began in February 2011 when Defendants filed patent application number 13/034,340 (the

 “’340 Application”). The ’340 Application eventually resulted in the issuance of the

 fraudulently obtained ’438 Patent. The proposed invention claimed a method for treating



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 prostate cancer through co-administration of abiraterone acetate and prednisone (a

 corticosteroid).

                The original named inventors of the ‘340 application were Alan H. Auerbach and

 Arie S. Belldegrun. The ‘340 application was originally Janssen Oncology, Inc. Janssen Oncology

 was at all times relevant to this action a wholly-owned subsidiary of J&J. Janssen Oncology

 previously identified both itself and J&J as real-parties-in-interest with respect to the ‘438 patent,

 including during petitions for inter partes review of the patent.

                J&J controlled prosecution of the ‘340 application. The Application Data Sheet

 (ADS) filed in connection with the ‘340 application on February 24, 2011 identified the applicants

 as Auerbach and Belldegrum. The ADS identified the mailing addresses for both Auerbach and

 Belldegrum, as applicants, at One Johnson & Johnson Plaza, New Brunswick NJ 08933. The

 customer number identified on the ADS was 27777, which corresponds to Johnson & Johnson,

 One Johnson & Johnson Plaza, New Brunswick NJ 08933-7003, which is the principal address for

 the publicly-traded company, John & Johnson. The email address identified on the ADS was

 jnjuspatent@corus.jnj.com. The ADS was signed by Andrea Jo Kamage.

                During prosecution of the ‘340 application, J&J signed all responses to the Patent

 Office. For instance, on December 21, 2011, applicants for the ‘340 application filed the first

 substantive response to a prior restriction requirement. The response was signed by Andrea Jo

 Kamage on behalf of Johnson & Johnson, One Johnson & Johnson Plaza, New Brunswick, NJ

 08933-7003, Customer No. 27777. On June 4, 2013, applicants for the ‘340 application filed the

 Office-Action response containing the allegedly fraudulent statements (as discussed in more detail

 below). The response was signed by Andrea Jo Kamage on behalf of Johnson & Johnson, One

 Johnson & Johnson Plaza, New Brunswick, NJ 08933-7003, Customer No. 27777.



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                During the Hatch-Waxman lawsuits in which Defendants asserted the ‘438 patent

 against proposed generics for Zytiga, Defendants’ complaints alleged that Janssen Biotech,

 Janssen Oncology and Janssen Research & Development collectively “sells” Zytiga in the United

 States pursuant to NDA No. 202379.

                Defendants’ complaints further alleged that Janssen Biotech is the holder of NDA

 No. 202379, and Janssen Research & Development works in collaboration with Janssen Biotech

 with respect to NDA No. 202379. See e.g., BTG Int’l Ltd. v. Actavis Labs. FL, Inc., Case No. 15-

 cv-05909 (D.N.J.) (Dkt. 1 ¶¶ 54-55). Zytiga is publicly sold and distributed by Janssen Biotech.

                Janssen Oncology and Janssen Biotech are both wholly-owned subsidiaries of J&J.

 Janssen Research & Development is an indirect wholly-owned subsidiary of J&J because it is a

 wholly-owned subsidiary of Centocor Research & Development, which is a wholly-owned

 subsidiary of Janssen Biotech. See BTG Int’l Ltd. v. Amneal Pharmaceuticals, LLC, Case No. 19-

 1147 (Fed. Cir.) (Dkt. 62).

                The Patent Office repeatedly rejected Defendants’ ’340 Application on the

 ground that co-administering abiraterone acetate with prednisone to treat prostate cancer was

 obvious in light of the prior art. To overcome this rejection, Defendants submitted fraudulent

 and misleading evidence they misrepresented to the Patent Office as demonstrating Zytiga’s

 commercial success attributable to the claimed invention.

                On February 3, 2012, the Patent Office rejected Defendants’ ’340 Application

 on the ground that the claimed invention was obvious based on prior art.

                On July 3, 2012, J&J, on behalf of Defendants, submitted to the Patent Office

 purported evidence of Zytiga’s commercial success. Defendants’ July 3 submission asserted

 that Zytiga enjoyed commercial success because, within the first year of its release,

 “worldwide sales were over $400 million.” Defendants, however, did not attempt to



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 demonstrate that the purportedly high sales amount were related, or had the requisite nexus, to

 the claimed patentable subject matter of the ’340 Application, as required.

                On or about September 11, 2012, the Patent Office once again rejected

 Defendants’ submission and affirmed that the claims in the ’340 Application were obvious in

 light of the prior art: “It would have been obvious to one of ordinary skill in the art at the time

 the invention was made to employ both prednisone and abiraterone acetate, in the dosage

 herein claimed, together in a method of treating prostate cancer, including refractory prostate

 cancer.”

                The Patent Office also rejected Defendants’ claim of commercial success based

 on the amount of Zytiga sales, because even a high amount of net sales after initial product

 launch is insufficient, by itself, establish commercial success or the required nexus with the

 claimed patentable subject matter. Thus, the Patent Office determined that Defendants’

 arguments concerning “commercial success have been considered, but are not found

 persuasive.” The Patent Office informed Defendants, to have their application granted, they

 could not rely solely on gross sales figures without providing “evidence as to market share.”

                In rejecting Defendants’ application, the Patent Office said:

                Furthermore, gross sales figures do not show commercial success
                absent evidence as to market share, Cable Electric Products, Inc. v.
                Genmark, Inc., 770 F.2d 1015, 226 USPQ 881 (Fed. Cir. 1985), or as
                to the time period during which the product was sold, or as to what
                sales would normally be expected in the market, Ex parte Standish,
                10 USPQ2d 1454 (Bd. Pat. App. & Inter. 1988). In the instant case,
                there is no evidence of commercial success was provided.

 Defendants therefore were on notice that a showing of commercial success would require

 information concerning the successful capture of market share, relevant time period, and what

 sales would normally be expected without the claimed invention.



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                  In particular, the courts and the Patent Office look to evidence of increasing

 market share and the maintenance of such shares in the face of competitors and other adverse

 market forces, unless competitors’ market entry was precluded or hindered for reasons other than

 the merits of the claimed invention (e.g., because of blocking patents). See, e.g., Galderma Labs.,

 L.P. v. Tolmar, Inc., 737 F.3d 731, 740-41 (Fed. Cir. 2013); Ashland Oil, Inc. v. Delta Resins &

 Refractories, Inc., 776 F.2d 281, 291 (Fed. Cir. 1985). Defendants knew that the only way the

 Patent Office would approve the ’340 Application was to demonstrate that Zytiga’s market share

 increased or were maintained against competing products as a result of the claimed invention in

 the ’340 Application (i.e., the co-administration of abiraterone acetate and prednisone).

                  In response to the Patent Office’s latest rejection of the ’340 Application, on

 June 4, 2013, J&J submitted additional materials on behalf of Defendants that Defendants

 represented to be truthful evidence demonstrating Zytiga’s commercial success as a result of

 the invention claimed in the ’340 Application. The only additional evidence that Defendants

 provided that related to a purported increase in Zytiga’s market share involved chemo-naïve

 mCRPC patients. For this sub-market, Defendants made the following misleading and

 fraudulent statements, contrary to Defendants’ duty of candor and good faith owed to the

 Patent Office:

                  [S]hortly after its approval for chemo-naïve patients in December
                  2012, ZYTIGA had a market share of 15%. As of April 2013,
                  ZYTIGA’s market share was 20%, higher than two other available
                  therapies, docetaxel and XTANDI, and approaching the market share
                  of bicalutamide, a drug first approved in 2001 for prostate cancer.

                  Because chemo-naïve patients comprised over 70% of the mCRPC market,

 Defendants told the Patent Office that Zytiga’s total market share in the mCRPC market

 increased approximately 3% from December 2012 to April 2013 (despite Zytiga’s market share

 decline in the chemo refractory submarket).

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                Defendants’ representations to the Patent Office concerning Zytiga’s share of

 the mCRPC market was misleading and fraudulent. They fell well below the level of good-

 faith and candor required from patent applicants.

                a.     Defendants’ statement was fraudulent and misleading because Xtandi

 had not been approved by the FDA for chemo-naïve mCRPC patients between December 2012

 and April 2013. In fact, Xtandi would not be approved for chemo-naïve patients until

 September 2014. Xtandi is Zytiga’s principal competitor in the mCPRC market. Indeed, even

 though Xtandi was not approved for the respective chemo refractory and chemo-naïve markets

 until after Zytiga, Xtandi overtook Zytiga in market share and number of prescriptions written

 by the end of 2015. For the chemo naïve market, Xtandi’s market share quickly surpassed

 Zytiga’s market share shortly after Xtandi’s FDA approval in the chemo-naïve submarket.

 Approximately 16 months after Xtandi’s FDA approval for the chemo-naïve submarket, Xtandi

 had overtaken Zytiga as the dominant drug for chemo-naïve mCRPC patients and for mCRPC

 patients overall.

                b.     Defendants’ misrepresentation concerning Zytiga’s performance against

 its primary rival, Xtandi, was knowing and intentional. In the same submission, Defendants

 acknowledged that Zytiga’s patient market share in the chemo refractory mCRPC market had

 plummeted from 70% in July 2012 to 57% by April 2013. Defendants explained the drop in

 Zytiga’s market share, in part, by the fact that Xtandi had been approved by the FDA for

 chemo-refractory mCRPC patients in August 2012, and thus was available to compete with and

 take market share away from Zytiga.

                c.     Defendants’ reference to Xtandi’s FDA approval in August 2012 for the

 chemo refractory mCRPC market—the specific market for which Defendants were trying to



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 explain a drop in Zytiga’s market share—demonstrates Defendants’ knowledge concerning the

 importance of FDA approval for specific indications in which market shares are being

 compared.

                d.      Moreover, in attempting to demonstrate Zytiga’s increasing “market

 share” in the chemo-naïve mCRPC market, Defendants reported data from December 2012

 through April 2013. In contrast, Defendants reported data for the chemo-refractory market

 starting in July 2012. Defendants justified their decision to provide the Patent Office with

 “market share” data having different starting time periods (as between the chemo refractory

 and chemo-naïve markets) by emphasizing that, whereas Zytiga obtained FDA approval for the

 chemo refractory market in April 2011, Zytiga did not obtain FDA approval in the chemo-

 naïve market until December 2012. This demonstrates that Defendants knew that the date of

 FDA approval was a material consideration when assessing the strength of a drug’s market

 share in a relevant market segment. Defendants took great pains to emphasize the precise dates

 when Zytiga was approved for the chemo refractory and chemo-naïve markets and adjusted

 their data to fit the relevant starting time periods, because Defendants knew that accurate FDA-

 approval dates were important considerations when assessing the strength of a drug’s

 comparative market share. Nevertheless, Defendants willfully withheld Xtandi’s relevant FDA

 approval dates to the Patent Office, even though Defendants knew that such an omission made

 their submission materially false and misleading, and even though Defendants’ duties of

 candor and good faith required Defendants to disclose it.

                e.      Defendants’ representations to the Patent Office concerning Zytiga’s

 “market share” are also misleading because, upon information and belief, the “market share”

 percentage that Defendants provided to the Patent Office were based on Zytiga’s patient



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 market share, not its direct sales market share compared with other competing drugs. This is

 misleading and contrary to Defendants’ duty of candor and good faith, because patients

 suffering from prostate cancer often take many drugs. Because such a “market share” figure

 measures the percentage of patients who are prescribed the drug, and not the market share of a

 drug based on its actual sales compared with sales of competing products, the total patient

 market share can substantially exceed 100%. In fact, it was well-known by people skilled in the

 art—but not disclosed to the Patent Office—that mCRPC patients typically build a tolerance to

 one drug, and move to another. Therefore, Defendants’ use of patient share data when

 representing to the Patent Office that “shortly after its approval for chemo-naïve patients in

 December 2012, ZYTIGA had a market share of 15%. As of April 2013, ZYTIGA’s market

 share was 20%, higher than two other available therapies, docetaxel and XTANDI” was

 fraudulent and misleading.

                f.      Defendants’ representations to the Patent Office concerning Zytiga’s

 “market share” in the chemo-naïve mCRPC market is also misleading because Zytiga’s

 supposedly increasing “market share” was compared with the declining market share of

 bicalutamide, an older anti-androgen drug. This was a misleading comparison. Since at least

 2010, the medical profession and those skilled in the relevant arts knew that bicalutamide

 lowered prostate-specific antigen (“PSA”) levels without materially increasing survivability.

 Therefore, by 2012, bicalutamide was increasingly being prescribed in the chemo-naïve

 mCRPC market only for specific purposes in conjunction with treatment that was considered to

 be more efficacious. Particularly in light of Defendants’ use of “patient” share data as a proxy

 for “market share,” Defendants’ comparison of Zytiga with bicalutamide to purportedly

 demonstrate that Zytiga’s market share was increasing against competitors (such as



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 bicalutamide) by reason of the claimed invention (co-administration of abiraterone acetate with

 prednisone) was misleading. Defendants knew the facts that made such comparison misleading

 but willfully failed to inform the Patent Office of such facts.

                Relying on Defendants’ misrepresentation concerning Zytiga’s growth in the

 chemo-naïve mCRPC market, the Patent Office issued a Notice of Allowance for the ’340

 Application, which led to the issuance of the ’438 Patent. The sole reason that the Patent Office

 gave for allowing the ’438 Patent—despite its prior rejections on the ground that the claimed

 invention was obvious in light of the prior art—was because of the (misleading) evidence that

 Defendants submitted concerning Zytiga’s supposed commercial success. As the Patent Office

 explained in granting Defendants’ application, the “commercial success of the combination of

 prednisone and abiraterone to treat prostate cancer obviate the rejection under 35 USC 103(a).”

                The Patent Office had previously rejected Defendants’ proffer of commercial

 success because the earlier proffer was based on Zytiga’s high sales revenue but lacked

 evidence concerning Zytiga’s market share. The only evidence Defendants provided

 concerning Zytiga’s increasing market share was the fraudulent and misleading statements

 relating to Zytiga’s growth in the chemo-naïve mCRPC market. Therefore, the single most

 reasonable explanation for the Patent Office’s approval of the ’438 Patent was Defendants’

 fraudulent and misleading statements concerning Zytiga’s growth in the chemo-naïve mCRPC

 market.

                Defendants made other misleading statements in their June 4, 2013 submission

 to the Patent Office, contrary to Defendants’ duties of candor and good faith.

                 a.     Defendants stated that Zytiga was “the most successful oral oncology

 launch in history.” This was misleading because numerous non-oral cancer drugs have been far



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 more successful than Zytiga. Defendants knew this but failed to disclose the information to the

 Patent Office.

                  b.    All drugs for treating mCRPC have short efficacy periods because the

 disease quickly becomes resistant to a given drug. In practice, this means that patients

 frequently switch medications. This suggests that any new mCRPC drug is likely to have some

 immediate commercial success. Therefore, the immediate commercial success of any new

 mCRPC drug is not necessarily unexpected or the result of innovation. Indeed, because

 mCRPC drugs have short efficacy periods, Zytiga’s purported commercial success described

 by Defendants lacked the requisite nexus to the claimed invention in the ’340 Application.

 Defendants knew these facts at the time they made their representations to the Patent Office.

 Nevertheless, Defendants failed to disclose them to the Patent Office, even though Defendants’

 duties of candor and good faith required such disclosure.

                  c.    Zytiga earned high revenue for Defendants because it does not sequence

 well with its biggest competitor in the chemo refractory mCRPC market, Xtandi. This means

 Zytiga had a natural commercial advantage over Xtandi simply because Zytiga was approved

 and launched first. For this reason, Zytiga’s purported commercial success described by

 Defendants lacked the requisite nexus to the claimed invention in the ’340 Application. These

 facts were known by Defendants at the time they made their representations to the Patent

 Office. Nevertheless, Defendants failed to disclose them to the Patent Office, even though

 Defendants’ duties of candor and good faith required such disclosure.

                  d.    New urology guidelines for treatment of CRPC patients in 2013

 indicated many factors that should guide a doctor’s decision to prescribe one drug instead of

 another. Zytiga was recommended in some cases because it was the least toxic. This



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 recommendation was a significant factor explaining the high sales revenue for Zytiga, and it

 had nothing to do with the claimed innovation embodied in the ’438 Patent (i.e., the

 administration of abiraterone with prednisone). Defendants knew these facts at the time they

 made their representations to the Patent Office. Nevertheless, Defendants failed to disclose

 them to the Patent Office, even though Defendants’ duties of candor and good faith required

 such disclosure.

                  e.     The ’213 Patent was a blocking patent that precluded generic entry or

 even meaningful research in abiraterone acetate by competing drug manufacturers prior to

 December 2016. Abiraterone acetate was one of the first of several new drugs for the mCRPC

 market that were approved and introduced beginning in or around 2010. Abiraterone acetate

 was the first major new drug that could be orally administered. Therefore, the ’213 Patent casts

 substantial doubt that Zytiga’s high sales revenues after launch resulted from the claimed

 innovation in the ’438 Patent. This is a material fact that was known by Defendants and should

 have been disclosed to the Patent Office, particularly since the Patent Office and the courts have

 repeatedly stressed the importance of a blocking patent when determining whether a drug’s

 commercial success obviates a finding of obviousness. See, e.g., Merck & Co. v. Teva Pharm.

 USA, Inc., 395 F.3d 1364, 1377 (Fed. Cir. 2005) (“Because market entry by others was

 precluded [due to patent protection and statutory exclusivity], the inference of non-obviousness

 . . . from evidence of commercial success . . . is weak”); Galderma Labs., L.P. v. Tolmar, Inc.,

 737 F.3d 731, 740-41 (Fed. Cir. 2013) (same). Moreover, the ’438 Patent is not a continuation

 of the ’213 Patent, and thus the Examiners that considered each of the patent applications were

 not the same person. The Examiner for the ’438 Patent was San-Ming Hui, whereas the

 Examiner for the ’213 Patent was Anthony Bottino. The Examiner for the ’438 Patent cannot



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 therefore be presumed to have been aware of the earlier blocking ’213 Patent. Defendants

 failed to disclose the existence of the ’213 Patent as a blocking patent to the Patent Office

 when pursing the ’438 Patent, even though Defendants’ duties of candor and good faith

 required such disclosure.

                 f.     The ’438 Patent claims the combination of abiraterone acetate and

 prednisone for the purpose of alleviating certain side-effects of abiraterone acetate, such as

 increased hypertension. However, drugs for mCRPC usually extend a patient’s life by a few

 months, at best. Thus, alleviating side effects may not have actually been a factor in the

 decision to prescribe or take Zytiga as of 2013, when Defendants made their representations to

 the Patent Office. Accordingly, Defendants’ statements regarding the commercial success of

 Zytiga misled the Patent Office about the required “nexus” between the commercial success of

 the drug and the patent, which is a requirement of showing commercial success as a secondary

 consideration under patent law. Defendants knew these facts at the time they made their

 representations to the Patent Office. Nevertheless, Defendants failed to disclose them to the

 Patent Office, even though Defendants’ duties of candor and good faith required such

 disclosure.

                 g.     Defendants stated to the Patent Office that, “Zytiga had almost 70%

 market share in July of 2012 for chemo refractory prostate cancer patients, just slightly over a

 year after ZYTIGA’s initial approval, and despite the fact that a [sic] JEVTANA had been

 approved two years earlier.” However, Zytiga is an oral medication, whereas Jevtana is a one-

 hour intravenous infusion. That distinction alone had an impact on Zytiga’s purported success

 compared to Jevtana. Yet, Defendants did not disclose to the Patent Office that Zytiga’s

 commercial success compared to Jevtana related to different routes of administration.



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 Importantly, neither the pending claims in the ’340 Application nor the issued claims in the

 ’438 Patent are limited to oral administration. On the contrary, the ’438 Patent discloses

 embodiments for the claimed methods that can be administered intravenously. Thus,

 Defendants misleadingly withheld information showing that the required “nexus” between the

 patented claims and the purported commercial success did not exist. These facts were known

 by Defendants at the time Defendants made their representations to the Patent Office.

 Nevertheless, Defendants failed to disclose them to the Patent Office, even though Defendants’

 duties of candor and good faith required such disclosure.

                 h.     Defendants did not disclose to the Patent Office that, in 2013, the price

 of Zytiga was considerably less than Xtandi and Jevtana. Xtandi cost approximately 35% more

 per year, and Jevtana cost approximately 50% more. These facts were known by Defendants at

 the time Defendants made their representations to the Patent Office. Nevertheless, Defendants

 failed to disclose them to the Patent Office, even though Defendants’ duties of candor and

 good faith required such disclosure.

                 i.     Zytiga is not always administered or prescribed with prednisone. The

 sales of Zytiga that are not co-administered with prednisone necessarily lack the required nexus

 to the ’438 Patent, since the ’438 Patent requires co-administration with prednisone to be

 infringed. Upon information and believe, abiraterone is prescribed and sold without

 prednisone at least 10% of the time. For these sales, there is no nexus to the ’438 Patent. On

 information and belief, during prosecution of the ’340 Application, Defendants were aware that

 at least 10% of Zytiga sales were prescribed or administered without the patented co-

 administration with prednisone. Thus, by failing to account for these sales that necessarily

 lacked a nexus to the ’438 Patent, Defendants misleadingly inflated Zytiga’s market share in



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 the course of describing the purported commercial success of the alleged invention in the ’438

 Patent. These facts were known by Defendants at the time Defendants made their

 representations to the Patent Office. Nevertheless, Defendants failed to disclose them to the

 Patent Office, even though Defendants’ duties of candor and good faith required such

 disclosure.

                In making each of these fraudulent or misleading statements to the Patent Office,

 Defendants knew that the evidence supposedly demonstrating Zytiga’s commercial success was

 highly material to the issue of patentability of the claims in the ’438 Patent.

                In making each of these fraudulent or misleading statements to the Patent Office,

 each party or person making such submission did so as the agent on behalf of each of the

 Defendants, who were each interested parties to the ’340 Application. Each Defendant jointly

 prosecuted the ’438 Patent application for each of their individual and collective benefit.

                Based on Defendants’ false and misleading representations and reliance thereon,

 the Patent Office allowed the claims in the ’340 Application and issued the ’438 Patent.

                Subsequent to the issuance of the ’438 patent, there was a proceeding to correct

 inventorship in which Dr. Johann S. de Bono was added as an inventor to the ’438 patent. BTG is

 the owner of Dr. de Bono’s inventions and thus asserts co-ownership of the ’438 patent along with

 Janssen.

        C.      Defendants Used the Fraudulently Obtained ’438 Patent to Block Generic
                Competition

                After fraudulently obtaining the ’438 Patent, Defendants listed the patent in the

 Orange Book along with the ’213 Patent. During all relevant times, Defendants listed in the

 Orange Book only two patents covering Zytiga: the ’213 Patent, and the ’438 Patent.




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                The ’213 Patent (which is directed to the compound, abiraterone acetate)

 expired on December 13, 2016, and the ’438 Patent will expire in approximately 2027. Thus,

 after December 13, 2016, only the ’438 Patent blocked generic competition for abiraterone

 acetate.

                Prior to December 2016, numerous generic companies filed ANDAs with the

 FDA seeking approval to distribute a generic version of Zytiga. These companies include

 Actavis Laboratories, FL, Inc.; Amneal Pharmaceuticals, LLC and Amneal Pharmaceuticals of

 New York, LLC; Apotex Inc. and Apotex Corp.; Amerigen Pharmaceutials Limited; Citron

 Pharma LLC; Dr. Reddy’s Laboratories, Ltd. and Dr. Reddy’s Laboratories, Inc.; Glenmark

 Pharmaceuticals Inc. and affiliated entities.; Hetero USA Inc. and affiliated entities; Mylan

 Pharmaceuticals Inc. and Mylan Inc.; Par Pharmaceuticals, Inc. and Par Pharmaceutical

 Companies, Inc; Sun Pharmaceutical Industries Ltd. and Sun Pharmaceuticals Industries, Inc.;

 Teva Pharmaceuticals USA, Inc.; Wockhardt Bio A.G.; Wockhardt USA LLC and Wockhardt

 Ltd.; West-Ward Pharmaceutical Corp.; and Hikma Pharmaceuticals, LLC (collectively, the

 “ANDA Filers”).

                The vast majority of the ANDA Filers filed their ANDAs in June and July 2015.

                Given the unusual breadth of ANDA filings for Zytiga, over a dozen generic

 manufacturers would have been able to file Paragraph I, II, or III certifications and gain

 approval to introduce generic alternatives to Zytiga by December 2016, but for Defendants’

 wrongful listing of the fraudulently obtained ’438 Patent in the Orange Book.

                Defendants’ listing of the ’438 Patent in the Orange Book constituted a false

 and fraudulent statement to the U.S. government.




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                Because Defendants fraudulently obtained the ’438 Patent and improperly listed

 it in the Orange Book, Defendants forced the ANDA Filers to file Paragraph IV certifications.

                Defendants instituted objectively baseless litigation against the ANDA Filers,

 alleging infringement of Defendants’ invalid, unenforceable, and fraudulently-obtained ’438

 Patent. By filing the infringement lawsuits, Defendants triggered the 30-month stays on FDA

 approval of the ANDA Filers’ applications to market generic alternatives to Zytiga. Defendants

 commenced these sham litigations for the anticompetitive and unlawful purpose of delaying or

 preventing generic entry into the relevant market. Defendants knew at the time that there was no

 objective merit to these suits. Accordingly, Defendants have unlawfully but successfully blocked

 generics from entering the market since at least December 2016.

                Because Defendants’ fraudulent scheme alleged herein, tentative approval for

 the ANDA Filers have been wrongfully delayed. For example, tentative approval for the

 Wockhardt ANDA Filers was not granted by the FDA until October 18, 2017. The FDA

 granted tentative approval for the Amneal entities on October 27, 2017. But for Defendants’

 misconduct as alleged herein, one or more of the ANDA Filers would have been able to supply

 the commercial quantities of generic Zytiga necessary to supply the market since at least

 December 2016.

                In January 2018, the PTAB invalidated the ’438 Patent in a series of inter partes

 reviews brought by several generic drug makers. Amerigen Pharms., Ltd. v. Janssen Oncology,

 Inc., IPR2016-00286 (P.T.A.B. Jan. 17, 2018); Mylan Pharms., Inc. v. Janssen Oncology, Inc.,

 IPR2016-01332 (P.T.A.B. Jan. 17, 2018); Wockhardt Bio AG v. Janssen Oncology, Inc.,

 IPR2016-01582 (P.T.A.B. Jan. 17, 2018). Defendants requested rehearing of the PTAB’s Final




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 Written Decisions in February 2018. When the PTAB denied rehearing, Defendants appealed

 to the Federal Circuit.

                On October 31, 2018, the United States District Court for the District of New

 Jersey (McNulty, J.) issued a Consolidated Opinion 2 determining—based on clear and
                                                       1F




 convincing evidence—that the ’438 Patent was invalid for obviousness. See BTG Int'l Ltd. v.

 Amneal Pharm. LLC, 352 F. Supp. 3d 352 (D.N.J. 2018). Defendants also appealed this decision

 to the Federal Circuit.

                On May 14, 2019, in a consolidated appeal, the Federal Circuit affirmed the

 PTAB’s Final Written Decision and the District Court’s Consolidated Opinion of invalidity. See

 BTG Int'l Ltd. v. Amneal Pharm. LLC, 923 F.3d 1063 (Fed. Cir. 2019).

                To date, because of the delays Defendants caused through their fraudulent

 scheme, no generic has yet entered the market.

                Because of Defendants’ false and misleading statements to the Patent Office in

 procuring the ’438 Patent, and Defendants’ subsequent assertion of the ’438 Patent in sham

 litigation against generic competitors who were willing and able to introduce less-expensive

 alternatives sufficient to satisfy market demand, consumers have been deprived of, and continue

 to be deprived of, a lower-cost generic form of Zytiga from at least December 13, 2016.

        D.      Defendants’ Fraudulent Extension of the Patent Monopoly Caused the
                Submission of False or Fraudulent Claims to Government Healthcare
                Programs

                When an upstream fraud on the government taints claims for payment later

 submitted to the government, the claims are “false or fraudulent” within the meaning of the

 FCA. For example, if a government contractor obtains a contract by fraud, claims for


 2
  The Consolidated Opinion determined the ’438 Patent was invalid in three infringement actions
 brought by Janssen Biotech, Inc.; Janssen Oncology, Inc.; Janssen Research & Development, LLC;
 and BTG International Ltd. against various generic competitors in civil action Nos. 2:15-cv-05909-
 KM-JBC, 2:16-cv-02449-KM-JBC, and 2:17-cv-06435-KM-JBC.

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 payment later submitted under that contract are actionable under the FCA. Or if a

 manufacturer obtains FDA approval for a new drug by defrauding the FDA, then claims for

 payment for that drug are tainted by fraud and actionable under the FCA. It is also well-

 established that when drug manufacturers manipulate drug prices to the government’s

 detriment, the resulting claims for payment are false or fraudulent.

                Here, Defendants maintained their patent monopoly by defrauding the

 Patent Office, and each and every claim for payment submitted to the United States and the

 Plaintiff States during the unlawfully extended monopoly period (i.e., after the ’213 patent

 was due to expire in December 2016) is tainted by that upstream fraud and therefore

 actionable under the FCA and its state-law counterparts.

                The link between the fraud on the Patent Office and false claims to the

 government is clear and direct. Indeed, the entire point of Defendants’ fraud was to extend

 the patent monopoly on abiraterone acetate so that they could continue to charge inflated

 prices for Zytiga to all payors, including government healthcare programs, and so

 Defendants could ensure that all of the payments for abiraterone acetate—including all of

 the government payments—flowed to Defendants, and not generic competitors.

                The unlawful exclusion of generic competitors is especially damaging to the

 government. Many government programs require patients to use or consider using generic

 alternatives before using more expensive name-brand drugs. Thus, each and every claim

 for payment or reimbursement for Zytiga that would have been substituted for a less

 expensive generic equivalent also constituted a False Claim.

                Independently, Defendants directly defrauded government paying agencies

 by expressly and implicitly certifying to government payors that the price they were



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 charging the government for Zytiga was “fair and reasonable,” or at least not tainted by

 fraud, when they knew that the price was actually the product of an unlawfully extended

 monopoly.

                For a drug manufacturer to sell pharmaceutical products to the federal

 government under certain government programs—either directly through sales to a

 government agency, or indirectly by receiving reimbursement for sales through Medicaid—

 the manufacturer must enter into several agreements with the federal government in which

 the manufacturer reports prices and business practices that establish the purchase price or

 reimbursement amounts are “fair and reasonable” under federal acquisition regulations.

                For Defendants to market Zytiga to federal agencies or otherwise qualify

 Zytiga for reimbursement under certain government programs, Defendants must list

 Zytiga’s prices on the Federal Supply Schedule (“FSS”), a program run by the General

 Services Administration (“GSA”). To do so, Defendants would have been required to sign

 a standard Master Agreement (“MA”) and a Pharmaceutical Price Agreement (“PPA”). See

 38 U.S.C. § 8126 (a). The PPA must be renewed annually and include the non-federal

 average manufacturer price (“AMP”) for the prior year. Moreover, drug manufacturers are

 required to update their AMP information to CMS every calendar quarter. See 42 C.F.R.

 § 414.804(a)(5). The AMP is used to calculate the Federal Ceiling Price (“FCP”), which is

 76 percent of the AMP plus a discount pegged to the cost of living index. As part of this

 process, Defendants must periodically provide the federal government with Zytiga’s

 commercial list price, the lowest price charged to any commercial customer (the “Most

 Favored Customer”), and the name and pricing information for a “Tracking Customer,”

 which is the “customer or class of customers whose pricing is tracked against the awarded



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 FSS pricing for the purposes of ensuring that prices remain fair and reasonable throughout

 the life of the contract.” (Emphasis added.)

                As part of the GSA’s assessment of Zytiga pricing, Defendants were

 required to supply a written justification for offered pricing, a mechanism for future

 potential pricing adjustments, and proof that the price is fair and reasonable. See About

 GSA Schedules, available at https://www.gsa.gov/buying-selling/purchasing-programs/gsa-

 schedules/about-gsa-schedules.

                Drug manufacturers such as Defendants have an express obligation to

 provide truthful information about AMP pricing to the government, and such

 manufacturers may be subject to substantial penalties if they provide inaccurate AMP

 information. For example, the FSS Solicitation Document relating to drugs,

 pharmaceuticals & hematology related products provides that: “[a]ccuracy of information

 and computation of prices is the responsibility of the Contractor . . . . Inclusion of incorrect

 information will cause the Contractor to resubmit/correct and redistribute the Federal

 Supply Schedule Price List, and may constitute sufficient cause for Cancellation . . . and

 application of any other remedies as provided by law—including monetary recovery.” GSA

 Drugs, Pharmaceuticals & Hematology Related Products Solicitation, 01 - Solicitation

 Document, pp. 39-40.

                Moreover, to receive payment or reimbursement under Medicaid for Zytiga,

 Defendants must participate in the Medicaid Drug Rebate Program (“MDRP”). Under the

 MDRP, the manufacturer must submit product and pricing data for all of its drugs that are

 eligible for coverage under Medicaid to CMS via the Drug Data Reporting for Medicaid

 (“DDR”) system. Under the agreement, the manufacturer must supply the AMP and the



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 number of units sold to DHHS. Drug manufacturers are required to provide truthful

 information and are subject to substantial civil penalties if they provide false information to

 the government. See 42 U.S.C. § 1396r-8(b)(3)(C)(ii). When providing the AMP to CMS,

 Defendants implicitly certify that the average manufacturer price reported has not been

 unlawfully inflated through the exclusion of competitors.

                Defendants are also required to participate in the Section 340B Drug Pricing

 Program, administered by the Office of Pharmacy Affairs in the DHHS. Under this

 program, Defendants are required provide drugs to eligible health care organizations and

 certain other entities at reduced prices based on pricing data supplied to the federal

 government, including with respect to the foregoing information provided to the DHHS and

 the GSA through the DDR and FSS, respectively.

                Defendants violated their obligations under these programs because the prices

 they negotiated with the government for Zytiga were based on illegally-obtained patent

 protection, and thus manifestly were not “fair and reasonable.” Even if all of the data

 Defendants provided to the government was literally accurate, Defendants misleadingly

 omitted the critical fact that their pricing was the product of an unlawfully extended patent

 monopoly, i.e., a fraud on the government. That omission goes directly to whether the prices

 the government paid for Zytiga were fair and reasonable.

                Defendants, their employees and agents, individually and in concert, knowingly

 submitted or caused to be submitted False Claims to the United States Government and the

 Plaintiff States to secure payments for illegally inflated prices for abiraterone acetate.




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                The United States Government and the Plaintiff States were unaware of

 Defendants’ fraudulent scheme, misrepresentations to the Patent Office, and wrongful listing of

 the ’438 Patent in the Orange Book at the time they paid False Claims.

         E.     Defendants’ Misrepresentations Were Material.

                Defendants’ misrepresentations were material—both to the Patent Office’s

 decision to grant the ’438 Patent, and to the government’s subsequent payment decisions.

                With respect to the Patent Office’s determination, it is well-established that an

 application seeking a patent that is obvious over prior art should be rejected. It is also well-

 established that an applicant can surmount a prima facie finding of obviousness through

 secondary considerations of unexpected commercial success only if there is a nexus between

 the claimed invention and the commercial success. These principles were well-known by

 practitioners in the field, particularly Defendants. But for Defendants’ misrepresentations to

 the Patent Office concerning Zytiga’s purported commercial success as alleged herein, the

 Patent Office would never have issued the ’438 Patent.

                Defendants’ fraud was also material to the government’s payment decisions.

                The price of a good that the government pays for is per se material to the

 government’s payment decision. Had the price been less, the government would have paid

 less.

                In this case, the government would have paid a lot less. The United States

 and the Plaintiff States have spent and continue to spend hundreds of millions of dollars on

 Zytiga every year. As noted by the FDA, studies have demonstrated that the entry of

 generics lower prices for the drug by 85% and quickly capture 90% of the market.

 Defendants prevented this from happening with Zytiga by applying for and obtaining the



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 ’438 patent. But for this illegally acquired patent, generic competitors could have entered

 the market for abiraterone acetate even earlier, competing with Zytiga as early as

 December 2016, when the patent monopoly lawfully should have expired.

                But for Defendants’ fraudulent conduct, at least two groups of generic

 competitors would have introduced generic alternatives to Zytiga sufficient to have

 satisfied demand for the drug between December 2016 and October 2017. But for

 Defendants’ unlawful conduct, competition would have lowered prices for abiraterone

 acetate by 85% percent or more, and lower-priced generics would have filled 90% of

 Zytiga prescriptions. Instead, Defendants have used their fraudulently-acquired patent to

 prevent generic competitors from marketing and selling lower-priced alternatives.

                The government has repeatedly confirmed, by word and deed, that drug

 price manipulation is material to its payment decisions.

                The government objects to the abuse of patents to exclude generic

 competitors. See, e.g., FTC v. AbbVie Inc., No. 14-5151, 2018 U.S. Dist. LEXIS 109628

 (E.D. Pa. June 29, 2018).

                Government law enforcement views overcharging the government through

 anticompetitive conduct to be material and serious violation. For example, a Department of

 Justice press release dated November 14, 2018 in connection with guilty pleas by foreign

 companies for bid-rigging states: “‘The FBI remains committed to holding corporations—

 both foreign and domestic—accountable for anticompetitive conduct and fraudulent

 practices toward the United States,’ said FBI Executive Assistant Director Amy Hess.”

                As another example, on May 10, 2019, 43 states and Puerto Rico filed suit

 against over a dozen pharmaceutical manufacturers and their executives for artificially



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 inflating the price of generic drugs through anticompetitive conduct. See State of

 Connecticut v. Teva Pharms. USA, Inc., No. 3:19-cv-00710-MPS (D. Conn. filed May 10,

 2019).

                As another example, the United States filed a criminal Information on May

 30, 2019 against Heritage Pharmaceuticals Inc., in the Eastern District of Pennsylvania,

 2:19-cr-00316-RBS, alleging that Heritage fixed the prices for a diabetes drug by

 suppressing and eliminating competition. In connection with the price-fixing allegations,

 Heritage agreed to pay over $7 million to settle the government’s claims under the FCA.

                In purchasing drugs or reimbursing for prescriptions as an end-payor for

 certain government programs, the United States Government and the Plaintiff States

 require manufacturers to report accurate prices to them for purposes of calculating the “fair

 and reasonable” price that the government will pay. Those calculations necessarily assume

 that the inputs given to the government are not tainted by upstream fraud that would inflate

 the price and cause the government to pay more than it otherwise would have.

                The sole purpose of Defendants’ fraud was to cause all payors—including

 the government healthcare programs that spend more than a billion dollars annually on this

 drug—to continue paying unlawful monopoly prices to Defendants, instead of fair prices

 determined by market competition. The inevitable and intended result was the gouging of

 the government and the unlawful enrichment of Defendants.

                The government is ineligible to challenge the validity of patents in a post-

 issuance review before the PTAB. See Return Mail, Inc. v. United States Postal Serv., No. 17-

 1594, 2019 WL 2412904, at *11 (U.S. June 10, 2019). Therefore, recovering through the FCA

 for overcharges paid by the government for drugs whose prices have been unlawfully inflated




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 as a result of fraudulently-obtained pharmaceutical patents is an important way for the

 government to protect healthcare funds from massive waste and fraud.

        F.      Defendants Acted With Requisite Knowledge

                The FCA requires that the defendant have either actual knowledge of

 information (e.g., that a claim is false) or acts with either deliberate ignorance or reckless

 disregard to the truth or falsity of the information.

                Defendants acted with the requisite scienter when they misrepresented the

 supposed commercial success of Zytiga in prosecuting the ’438 Patent. They actually knew

 or were reckless to the fact that the claimed commercial success of Zytiga was unrelated to

 any invention claimed in the ’438 Patent, including the fact that Zytiga’s most important

 competitor had not received FDA approval during the period of Defendants’ market share

 comparison. Despite knowing these material facts, Defendants failed to disclose them to

 the Patent Office.

                Defendants knew that the United States and the Plaintiff States would be

 purchasers and third-party payers for Zytiga through direct or indirect sales of Zytiga or the

 payment of claims for prescription drug reimbursement submitted by providers under

 government programs. Thus, they knew that their fraud on the Patent Office would cause

 false claims to be submitted to the United States and the Plaintiff States.

                Defendants also had the requisite scienter when they submitted price

 information and subsequent claims for payment to the government. At all times,

 Defendants either actually knew, were deliberately indifferent to, or recklessly disregarded

 the fact that they had unlawfully extended their patent monopoly to inflate the price of

 Zytiga. Thus, Defendants knew that the pricing information they submitted to the

 government would not result in a price that was “fair and reasonable,” and they knew that

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 the claims they were submitting (or causing others to submit) were false or fraudulent

 because they were for inflated prices. Defendants also knew that the claims they submitted

 or caused to be submitted for the payment or reimbursement of Zytiga were false or

 fraudulent because they sought payment for Zytiga prescriptions that would have been

 filled by a less expensive generics but for Defendants’ unlawful exclusion of competitors.

                In sum, this case does not involve a garden-variety attempt by a manufacturer to

 extend a patent monopoly. Defendants clearly and brazenly crossed legal and ethical lines

 while extending the patent monopoly for Zytiga. They withheld critical information from the

 Patent Office, and then exploited the wrongful extension of the patent monopoly to extract

 billions of dollars from the United States and the Plaintiff States.

 VII.   CLAIMS FOR RELIEF

                                       Claim for Relief I
                                       False Claims Act
                                    31 U.S.C. §§ 3729–3733

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the False Claims Act, 31

 U.S.C. §§ 3729–3733, as amended.

                Through the acts described above, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims for payment of Zytiga.

                Defendants also knowingly used false records and statements material to false

 claims for payment for Zytiga.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the United States. Relator has no control over, or dealings with, such entities, and has no

 access to the records in their possession.

                The Government, unaware of the falsity of the records, statements and claims

 made or caused to be made by Defendants, paid and continues to pay the claims that the

 Government would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the United States has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the United States is entitled to a maximum penalty of up to

 $21,916 for each and every violation alleged herein.

                                     Claim for Relief II
                                California False Claims Act
                              Cal. Gov’t Code §§ 12650–12656

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the California False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a



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 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of California—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                 Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of California.

                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of California. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                 The State of California, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of California would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of California has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of California is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of California pursuant to Cal. Gov’t Code § 12652(c)(1).




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                                      Claim for Relief III
                              Colorado Medicaid False Claims Act
                             Colo. Rev. Stat. §§ 25.5-4-303.5 to -310

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Colorado Medicaid

 False Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Colorado—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Colorado.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Colorado. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Colorado, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Connecticut would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Colorado has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Colorado is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Colorado pursuant to Colo. Rev. Stat § 25.5-4-306(2).

                                    Claim for Relief IV
                               Connecticut False Claims Act
                              Conn. Gen. Stat. §§ 4-274 to -289

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Connecticut False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Connecticut—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Connecticut.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Connecticut. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                The State of Connecticut, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Connecticut would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Connecticut has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Connecticut pursuant to Conn. Gen. Stat. § 4-277.

                                    Claim for Relief V
                         Delaware False Claims and Reporting Act
                            Del. Code Ann. tit. 6, §§ 1201–1211

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

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                This is a claim for treble damages and penalties under the Delaware False

 Claims and Reporting Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Delaware—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Delaware.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Delaware. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.




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                The State of Delaware, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Delaware would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Delaware has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Delaware pursuant to Del. Code Ann. tit. 6, § 1203(b).

                                     Claim for Relief VI
                                  Florida False Claims Act
                                   Fla. Stat. §§ 68.081–.09

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Florida False Claims

 Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.



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                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Florida—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Florida.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Florida. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Florida, unaware of the falsity of the records, statements and claims

 made or caused to be made by Defendants, paid and continues to pay the claims that the State

 of Florida would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Florida has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Florida is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Florida pursuant to Fla. Stat. § 68.083.

                                   Claim for Relief VII
                            Georgia False Medicaid Claims Act
                            Ga. Code Ann. §§ 49-4-168 to -168.6

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.



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                This is a claim for treble damages and penalties under the Georgia False

 Medicaid Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Georgia—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Georgia.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Georgia. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.




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                The State of Georgia, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Georgia would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Georgia has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Georgia is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Georgia pursuant to Ga. Code Ann. §49-4-168.

                                      Claim for Relief VIII
                                    Hawaii False Claims Act
                                  Haw. Rev. Stat. §§ 661-21 to -31

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under Hawaii False Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a



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 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Hawaii—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Hawaii.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Hawaii. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Georgia, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Hawaii would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Hawaii has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Hawaii is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Hawaii pursuant to Haw. Rev. Stat. § 661-25.




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                                         Claim for Relief IX
                                     Illinois False Claims Act
                                  740 Ill. Comp. Stat. 175/1–175/8

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Illinois False Claims

 Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Illinois—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Illinois.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Illinois. Relator has no control over or dealings with such entities and has no

 access to the records in their possession.

                The State of Illinois, unaware of the falsity of the records, statements and claims

 made or caused to be made by Defendants, paid and continues to pay the claims that the State

 of Illinois would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Illinois has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Illinois is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Illinois pursuant to 740 Ill. Comp. Stat. 175/4(b).

                                    Claim for Relief X
                 Indiana False Claims and Whistleblower Protection Act
                              Ind. Code §§ 5-11-5.5-1 to -18

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Indiana False Claims

 and Whistleblower Protection Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Indiana—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Indiana.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Indiana. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Indiana, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Indiana would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Indiana has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Indiana is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Indiana pursuant to Ind. Code § 5-11-5.5-4.



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                                      Claim for Relief XI
                                    Iowa False Claims Act
                                    Iowa Code §§ 685.1–.7

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Iowa False Claims

 Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Iowa—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Iowa.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Iowa. Relator has no control over or dealings with such entities and has no

 access to the records in their possession.

                The State of Iowa, unaware of the falsity of the records, statements and claims

 made or caused to be made by Defendants, paid and continues to pay the claims that the State

 of Iowa would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Iowa has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Iowa is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Iowa pursuant to Iowa Code § 685.3(2).

                                 Claim for Relief XII
                  Louisiana Medical Assistance Programs Integrity Law
                           La. Rev. Stat. Ann. §§ 46:437–:440

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Louisiana Medical

 Assistance Programs Integrity Law.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                 Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Louisiana—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                 Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Louisiana.

                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Louisiana. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                 The State of Louisiana, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Louisiana would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of Louisiana has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of Louisiana is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Louisiana pursuant to La. Rev. Stat. Ann. § 46:439.1.



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                                 Claim for Relief XIII
                           Maryland False Health Claims Act
                       Md. Code Ann., Health-Gen. §§ 2-601 to -611

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Maryland False

 Health Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Maryland—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Maryland.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Maryland. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                 The State of Maryland, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Maryland would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of Maryland has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of Maryland is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Maryland pursuant to Md. Code Ann., Health-Gen. § 2-604(a)(1).

                                   Claim for Relief XIV
                              Massachusetts False Claims Act
                             Mass. Gen. Laws ch. 12, §§ 5A–5O

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for treble damages and penalties under the Massachusetts False

 Claims Act.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the Commonwealth of Massachusetts—through any

 state funded program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the Commonwealth of Massachusetts.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the Commonwealth of Massachusetts. Relator has no control over or dealings with such

 entities and has no access to the records in their possession.

                The Commonwealth of Massachusetts, unaware of the falsity of the records,

 statements and claims made or caused to be made by Defendants, paid and continues to pay the

 claims that the Commonwealth of Massachusetts would not have paid but for Defendants’

 illegal conduct.

                By reason of Defendants’ acts, the Commonwealth of Massachusetts has been

 damaged, and continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the Commonwealth of Massachusetts is entitled to a statutory

 penalty for each and every violation alleged herein to be determined by the Court in

 accordance with the relevant statutes.




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                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the Commonwealth of Massachusetts pursuant to Mass. Gen. Laws. ch. 12, § 5C(2).

                                    Claim for Relief XV
                             Michigan Medicaid False Claims Act
                             Mich. Comp. Laws §§ 400.601–.615

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Michigan Medicaid

 False Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Michigan—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Michigan.



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                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Michigan. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Michigan, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Michigan would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Michigan has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Michigan is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Michigan pursuant to Mich. Comp. Laws § 400.610a.

                                     Claim for Relief XVI
                                  Minnesota False Claims Act
                                  Minn. Stat. §§ 15C.01–.16

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Minnesota False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.



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                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Minnesota—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Minnesota.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Minnesota. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                The State of Minnesota, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Minnesota would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Minnesota has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.




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                 Additionally, the State of Minnesota is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Minnesota pursuant to Minn. Stat. § 15C.05.

                                   Claim for Relief XVII
                                 Montana False Claims Act
                             Mont. Code Ann. §§ 17-8-401 to -413

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for treble damages and penalties under the Montana False

 Claims Act.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Montana—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

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                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Montana.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Montana. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Montana, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Montana would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Montana has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Montana is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Montana pursuant to Mont. Code Ann. § 17-8-406.

                                Claim for Relief XVIII
             Nevada Submission of False Claims to State or Local Government
                            Nev. Rev. Stat. §§ 357.010–.250

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Nevada statute

 relating to the Submission of False Claims to State or Local Government, Nev. Rev. Stat.

 §§ 357.010–.250



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                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Nevada—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Nevada.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Nevada. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Nevada, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Nevada would not have paid but for Defendants’ illegal conduct.




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                By reason of Defendants’ acts, the State of Nevada has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Nevada is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Nevada pursuant to Nev. Rev. Stat. § 357.080.

                                   Claim for Relief XVIX
                               New Jersey False Claims Act
                             N.J. Stat. Ann. §§ 2A:32C-1 to -18

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the New Jersey False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.



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                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of New Jersey—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                 Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of New Jersey.

                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of New Jersey. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                 The State of New Jersey, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of New Jersey would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of New Jersey has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of New Jersey is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of New Jersey pursuant to N.J. Stat. Ann. § 2A:32C-5.

                                    Claim for Relief XX
                             New Mexico Medicaid False Claims
                              N.M. Stat. Ann. §§ 27-14-1 to -15

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.



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                This is a claim for treble damages and penalties under the New Mexico

 Medicaid False Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of New Mexico—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of New Mexico.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of New Mexico. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.




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                 The State of New Mexico, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of New Mexico would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of New Mexico has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of New Mexico is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of New Mexico pursuant to N.M. Stat. Ann. § 27-14-8.

                                  Claim for Relief XXI
                         New Mexico Fraud Against Taxpayers Act
                             N.M. Stat. Ann. §§ 44-9-1 to -14

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for treble damages and penalties under the New Mexico Fraud

 Against Taxpayers Act.

                 Through the acts described herein, Defendants knowingly, intentionally, and

 willfully violated the New Mexico Fraud Against Taxpayers Act.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of New Mexico pursuant to N.M. Stat. Ann. § 44-9-5.

                                      Claim for Relief XXII
                                   New York False Claims Act
                                  N.Y. State Fin. Law §§ 187–194

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

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                This is a claim for treble damages and penalties under the New York False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of New York—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of New York.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of New York. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.




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                 The State of New York, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of New York would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of New York has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of New York is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of New York pursuant to N.Y. State Fin. Law § 190(2).

                                  Claim for Relief XXIII
                              North Carolina False Claims Act
                              N.C. Gen. Stat. §§ 1-605 to -618

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for treble damages and penalties under the North Carolina False

 Claims Act.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

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 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of North Carolina—through any state

 funded program, including, without limitation, Medicaid—for Zytiga.

                 Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of North Carolina.

                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of North Carolina. Relator has no control over or dealings with such entities

 and has no access to the records in their possession.

                 The State North Carolina, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of North Carolina would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of North Carolina has been damaged,

 and continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of North Carolina is entitled to a statutory penalty for

 each and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of North Carolina pursuant to N.C. Gen. Stat. § 1-608(b).




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                                   Claim for Relief XXIV
                             Oklahoma Medicaid False Claims Act
                              Okla. Stat. tit. 63, §§ 5053–5053.7

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Oklahoma False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Oklahoma—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Oklahoma.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Oklahoma. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                 The State of Oklahoma, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Oklahoma would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of Oklahoma has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of Oklahoma is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Oklahoma pursuant to Okla. Stat. tit. 63, § 5053.3.

                                       Claim for Relief XXV
                                  Rhode Island False Claims Act
                                  R.I. Gen. Laws §§ 9-1.1-1 to -9

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for treble damages and penalties under the Rhode Island False

 Claims Act.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                 Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Rhode Island—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                 Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Rhode Island.

                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Rhode Island. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                 The State of Rhode Island, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Rhode Island would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of Rhode Island has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of Rhode Island is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Rhode Island pursuant to R.I. Gen. Laws § 9-1.1-4(b).



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                                    Claim for Relief XXVI
                             Tennessee Medicaid False Claims Act
                              Tenn. Code Ann. §§ 7-5-181 to -185

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Tennessee Medicaid

 False Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Tennessee—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Tennessee.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Tennessee. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                 The State of Tennessee, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Tennessee would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of Tennessee has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of Tennessee is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Tennessee pursuant to Tenn. Code Ann. § 71-5-183(b).

                                 Claim for Relief XXVII
                          Texas Medicaid Fraud Prevention Law
                         Tex. Hum. Res. Code Ann. §§ 36.001–.132

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for double damages and penalties under the Texas Medicaid

 Fraud Prevention Law.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Texas—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Texas.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Texas. Relator has no control over or dealings with such entities and has no

 access to the records in their possession.

                The State of Texas, unaware of the falsity of the records, statements and claims

 made or caused to be made by Defendants, paid and continues to pay the claims that the State

 of Texas would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Texas has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Texas is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Texas pursuant to Tex. Hum. Res. Code Ann. § 36.101.



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                                      Claim for Relief XXVIII
                                     Vermont False Claims Act
                                  Vt. Stat. Ann. tit. 32, §§ 630–642

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Vermont False

 Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Vermont—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Vermont.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities



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 across the State of Vermont. Relator has no control over or dealings with such entities and has

 no access to the records in their possession.

                The State of Vermont, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Vermont would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the State of Vermont has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the State of Vermont is entitled to a statutory penalty for each and

 every violation alleged herein to be determined by the Court in accordance with the relevant

 statutes.

                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Vermont pursuant to Vt. Stat. Ann. tit. 32, § 632(b)(1).

                                   Claim for Relief XXIX
                           Virginia Fraud Against Taxpayers Act
                             Va. Code Ann. §§ 8.01-216.1 to .19

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Virginia Fraud

 Against Taxpayers Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

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                 Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                 Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the Commonwealth of Virginia—through any state

 funded program, including, without limitation, Medicaid—for Zytiga.

                 Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the Commonwealth of Virginia.

                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the Commonwealth of Virginia. Relator has no control over or dealings with such

 entities and has no access to the records in their possession.

                 The Commonwealth of Virginia, unaware of the falsity of the records,

 statements and claims made or caused to be made by Defendants, paid and continues to pay the

 claims that the Commonwealth of Virginia would not have paid but for Defendants’ illegal

 conduct.

                 By reason of Defendants’ acts, the Commonwealth of Virginia has been

 damaged, and continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the Commonwealth of Virginia is entitled to a statutory penalty

 for each and every violation alleged herein to be determined by the Court in accordance with

 the relevant statutes.




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                Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the Commonwealth of Virginia pursuant to Va. Code Ann. § 8.01-216.5(a).

                                Claim for Relief XXX
                   Washington State Medicaid Fraud False Claims Act
                          Wash. Rev. Code §§ 74.66.005–.130

                Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                This is a claim for treble damages and penalties under the Washington State

 Medicaid Fraud False Claims Act.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.

                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the State of Washington—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the State of Washington.



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                 Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the State of Washington. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                 The State of Washington, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that the

 State of Washington would not have paid but for Defendants’ illegal conduct.

                 By reason of Defendants’ acts, the State of Washington has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                 Additionally, the State of Washington is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the

 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the State of Washington pursuant to Wash. Rev. Code § 74.66.050.

                                   Claim for Relief XXXI
                         The District of Columbia False Claims Law
                                D.C. Code §§ 2-381.01 to .09

                 Relator realleges and incorporates by reference all foregoing allegations as

 though fully set forth herein.

                 This is a claim for treble damages and penalties under the District of Columbia

 False Claims Law.

                 Through the acts described above, Defendants knowingly, intentionally, and

 willfully presented, or caused to be presented, false or fraudulent claims for payment and

 approval for prescriptions for Zytiga.



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                Through the acts described above, Defendants knowingly, intentionally, and

 willfully made or used a false record or statement material to a false or fraudulent claim for

 payment and approval for prescriptions for Zytiga.

                Through the acts described above, Defendants conspired to (a) present, or cause

 to be presented, false or fraudulent claims for payment and approval; and (b) make or use a

 false record or statement material to a false or fraudulent claim for payment and approval for

 prescriptions for Zytiga.

                Because of Defendants’ violations the false claims statutes alleged herein,

 Defendants were not entitled to be paid by the District of Columbia—through any state funded

 program, including, without limitation, Medicaid—for Zytiga.

                Through the acts described herein, Defendants knowingly presented, or caused

 to be presented, false or fraudulent claims to the District of Columbia.

                Relator cannot at this time identify all of the false claims for payment that were

 caused by Defendants’ conduct. The false claims were presented by numerous separate entities

 across the District of Columbia. Relator has no control over or dealings with such entities and

 has no access to the records in their possession.

                The District of Columbia, unaware of the falsity of the records, statements and

 claims made or caused to be made by Defendants, paid and continues to pay the claims that

 District of Columbia would not have paid but for Defendants’ illegal conduct.

                By reason of Defendants’ acts, the District of Columbia has been damaged, and

 continues to be damaged, in substantial amount to be determined at trial.

                Additionally, the District of Columbia is entitled to a statutory penalty for each

 and every violation alleged herein to be determined by the Court in accordance with the



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 relevant statutes.

                 Relator has standing as a qui tam relator to bring this cause of action on behalf

 of the District of Columbia pursuant to D.C. Code § 2-308.15(b)(1).

                                     PRAYER FOR RELIEF

         WHEREFORE, Relator prays for judgment against Defendants as follows:

         A.      That Defendants cease and desist from violating 31 U.S.C. §§ 3729–3733, and

 the relevant parts of each statute applicable to the Plaintiff States as set forth above;

         B.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the United States has sustained because of Defendants’ actions,

 plus a civil penalty of not less than $5,500 and not more than $21,916 for each violation of

 31 U.S.C. §§ 3729–3733;

         C.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of California has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the California False Claims Act, Cal. Gov’t Code §§ 12650–12656;

         D.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Colorado has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Colorado Medicaid False Claims Act, Colo. Rev. Stat §§ 25.5-4-303.5 to -310;

         E.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Connecticut has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Connecticut False Claims Act, Conn. Gen. Stat. §§ 4-274 to -289;



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        F.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Delaware has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Delaware False Claims and Reporting Act, Del. Code Ann. tit. 6, §§ 1201–1211;

        G.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Florida has sustained because of Defendants’ actions,

 plus a civil penalty for the maximum amount allowed by statute, for each violation of the

 Florida False Claims Act, Fla. Stat. §§ 68.081–.09;

        H.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Georgia has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Georgia False Medicaid Claims Act, Ga. Code Ann. §§ 49-4-168 to -168.6;

        I.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Hawaii has sustained because of Defendants’ actions,

 plus a civil penalty for the maximum amount allowed by statute, for each violation of the

 Hawaii False Claims Act, Haw. Rev. Stat. §§ 661-21 to -31;

        J.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Illinois has sustained because of Defendants’ actions,

 plus a civil penalty for the maximum amount allowed by statute, for each violation of the

 Illinois False Claims Act, 740 Ill. Comp. Stat. 175/1–175/8;

        K.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Indiana has sustained because of Defendants’




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 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Indiana False Claims and Whistleblower Protection Act, Ind. Code §§ 5-11-5.5-1 to -18;

         L.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Iowa has sustained because of Defendants’ actions,

 plus a civil penalty for the maximum amount allowed by statute, for each violation of Iowa

 False Claims Act, Iowa Code §§ 685.1–.7;

         M.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Louisiana has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat. Ann. §§ 46:437–

 :440;

         N.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Maryland has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Maryland False Health Claims Act, Md. Code Ann., Health-Gen. §§ 2-601 to -611;

         O.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages Commonwealth of Massachusetts has sustained because of

 Defendants’ actions, plus a civil penalty for the maximum amount allowed by statute, for each

 violation of the Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, §§ 5A–5O;

         P.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Michigan has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Michigan Medicaid False Claims Act, Mich. Comp. Laws. §§ 400.601–.615;



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        Q.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Minnesota has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Minnesota False Claims Act, Minn. Stat, §§ 15C.01–.16;

        R.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Montana has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Montana False Claims Act, Mont. Code Ann. §§ 17-8-401 to -413;

        S.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Nevada has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Nevada statute concerning Submission of False Claims to State or Local Government, Nev.

 Rev. Stat. §§ 357.010–.250;

        T.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of New Jersey has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the New Jersey False Claims Act, N.J. Stat. Ann. §§ 2A:32C-1 to -18;

        U.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of New Mexico has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the New Mexico Medicaid False Claims Act, N.M. Stat. Ann. §§ 27-14-1 to -15; and the New

 Mexico Fraud Against Taxpayers Act, N.M. Stat. Ann. §§ 44-9-1 to -14.




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        V.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of New York has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the New York False Claims Act, N.Y. State Fin. Law §§ 187–194;

        W.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of North Carolina has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the North Carolina False Claims Act, N.C. Gen. Stat. §§ 1-605 to -618;

        X.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Oklahoma has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63, §§ 5053–5053.7;

        Y.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Rhode Island has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Rhode Island False Claims Act, R.I. Gen. Laws §§ 9-1.1-1 to -9;

        Z.      That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Tennessee has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Tennessee Medicaid False Claims Act, Tenn. Code Ann. §§ 71-5-181 to -185;

        AA.     That this Court enter judgment against Defendants in an amount equal to two

 times the amount of damages the State of Texas has sustained because of Defendants’ actions,




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 plus a civil penalty for the maximum amount allowed by statute, for each violation of the

 Texas Medicaid Fraud Prevention Law, Tex. Hum. Res. Code Ann. §§ 36.001–.132;

        BB.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Vermont has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Vermont False Claims Act, Vt. Stat. Ann. tit. 32, §§ 630–642;

        CC.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the Commonwealth of Virginia has sustained because of

 Defendants’ actions, plus a civil penalty for the maximum amount allowed by statute, for each

 violation of the Virginia Fraud Against Taxpayers Act, Va. Code Ann. §§ 8.01-216.1 to .19;

        DD.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the State of Washington has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the Washington State Medicaid Fraud False Claims Act, Wash. Rev. Code §§ 74.66.005–.130;

        EE.     That this Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the District of Columbia has sustained because of Defendants’

 actions, plus a civil penalty for the maximum amount allowed by statute, for each violation of

 the District of Columbia False Claims Act, D.C. Code §§ 2-381.01 to .09;

        FF.     That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C.

 § 3730(d), and the relevant provisions of each statute applicable to the Plaintiff States as set

 forth above;

        GG.     That Relator be awarded all costs of this action;

        HH.     That the Relator be awarded reasonable attorneys’ fees; and



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           II.    That Relator recover such further and other relief as the Court deems just and

 proper.

                                  DEMAND FOR JURY TRIAL

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

 trial by jury.

                                                LITE DEPALMA GREENBERG, LLC

 Dated: June 20, 2019                            s/ Bruce D. Greenberg
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